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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 TAMIKA PATRICE JOHNSON,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 1:17-cv-06185

 MEDICREDIT, INC.,
                                                      DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

        NOW comes TAMIKA PATRICE JOHNSON (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MEDICREDIT, INC.

(“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Illinois Consumer Fraud and Deceptive Business Practices

Act (“ICFA”) under 815 ILCS 505/1 et seq., for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




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    3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Illinois.

                                              PARTIES

    4. Plaintiff is a 25 year-old natural person residing in Chicago, Illinois, which falls within the

Northern District of Illinois.

    5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

    6. Defendant is a collection agency focused exclusively on medical and healthcare debts with

its headquarters located in St. Louis, Missouri. Defendant has offices all over the U.S. and makes

collection calls in all states.

    7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

    8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                  FACTS SUPPORTING CAUSES OF ACTION

    9. In early 2016, Plaintiff began receiving calls to her cellular phone (708) XXX-7580, from

Defendant.

    10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 7580. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

    11. Upon speaking with Defendant, Plaintiff was informed that it was attempting to collect

upon a medical debt she allegedly incurred (“subject debt”).




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    12. Lacking the ability to pay due to financial hardship, Plaintiff informed Defendant as such

and demanded that it stop contacting her.

    13. Despite Plaintiff’s efforts, Defendant continued to call her cellular phone throughout 2016.

    14. Due to the fact that Defendant would not stop calling, in December 2016, Plaintiff was

forced to change her cellular phone number.

    15. Shortly thereafter, however, Plaintiff began receiving calls from Defendant on her new

cellular phone number, (708) XXX-4156.

    16. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 4156. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

    17. Once again, Plaintiff informed Defendant to stop calling her, and reiterated this demand on

subsequent calls.

    18. In spite of Plaintiff’s demands, Defendant has continued to call her cellular phone up until

the present day.

    19. When Plaintiff answers Defendant’s phone calls, she experiences a noticeable pause,

lasting approximately five seconds in length, before a live representative begins speaking.

    20. When Plaintiff does not answer Defendant’s phone calls, it leaves her a voice message

asking her to return its calls.

    21. Defendant has mainly called Plaintiff’s cellular phone using the phone number (800) 823-

2318, but upon belief, it has used other numbers as well.

    22. Upon information and belief, the above number ending in 2138 is regularly utilized by

Defendant during its debt collection activity.

    23. Plaintiff has received not less than 30 calls from Defendant since asking it to stop calling.



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   24. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

resulting in expenses.

   25. As a direct result of Defendant’s persistent phone calls, Plaintiff was forced to incur fees

and costs in order to change cellular phone numbers.

   26. With the goal of specifically addressing Defendant’s conduct, Plaintiff has expended

approximately $72.00 to purchase and maintain an application on her cellular phone to help quell

Defendant’s calls. However, the communications have continued.

   27. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   28. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

emotional distress, increased risk of personal injury resulting from the distraction caused by the

never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,

diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   29. Plaintiff repeats and realleges paragraphs 1 through 28 as though full set forth herein.

   30. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   31. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   32. Defendant is engaged in the business of collecting or attempting to collect, directly or

indirectly, defaulted debts owed or due or asserted to be owed or due to others. Defendant identifies




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itself as a debt collector and has been a member of the Association of Credit and Collection

Professionals since 2007.1

      33. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

           a. Violations of FDCPA §1692c(a)(1) and §1692d

      34. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

      35. Defendant violated §1692c(a)(1), d, and d(5) when it continuously called Plaintiff after

being notified to stop. This repeated behavior of systematically calling Plaintiff’s phone over and

over after she demanded that it cease contacting her was harassing and abusive. Defendant

continued its onslaught of phone calls with the specific goal of oppressing and abusing Plaintiff.

      36. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

            b. Violations of the FDCPA § 1692e

      37. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

      38. In addition, this section enumerates specific violations, such as:

               “The use of any false representation or deceptive means to collect or attempt to
               collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
               §1692e(10).

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    http://www.acainternational.org/search#memberdirectory

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    39. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the alleged debt. Despite being told to stop calling as she was dealing with

financial hardship, Defendant continued to systematically place calls to Plaintiff’s cellular phone

in a deceptive attempt to force her to answer its calls and ultimately make a payment. Plaintiff

switched cellular phone numbers in an effort to stop these calls, but yet, Defendant still found a

way to contact her on the new number as well. Through its conduct, Defendant misleadingly

represented to Plaintiff that it had the legal ability to contact her via an automated system when it

no longer had consent to do so.

         c. Violations of FDCPA § 1692f

    40. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    41. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff after she notified it to stop. Attempting to coerce Plaintiff

into payment by placing voluminous phone calls after being notified to stop calling is unfair and

unconscionable behavior. These means employed by Defendant only served to worry and confuse

Plaintiff.

    42. As pled in paragraphs 23 through 28, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

    WHEREFORE, Plaintiff, TAMIKA PATRICE JOHNSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
       §1692k(a)(2)(A);


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   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


         COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   43. Plaintiff repeats and realleges paragraphs 1 through 42 as though fully set forth herein.

   44. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   45. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause, lasting approximately five seconds in length,

which Plaintiff experiences during answered calls from Defendant is instructive that an ATDS is

being utilized to generate the phone calls. Additionally, the nature and frequency of Defendant’s

contacts points to the involvement of an ATDS.

   46. Defendant violated the TCPA by placing phone calls to Plaintiff’s cellular phone using

an ATDS without her consent. Any consent that Plaintiff may have given to the originator of the

consumer debt, which Defendant will likely assert transferred down, was specifically revoked by

Plaintiff’s numerous demands that it cease contacting her.

   47. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).




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   48. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, TAMIKA PATRICE JOHNSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


                  COUNT III – VIOLATIONS OF THE ILLINOIS CONSUMER
           FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT AGAINST DEFENDANT

   49. Plaintiff restates and realleges paragraphs 1 through 48 as though fully set forth herein.

   50. Plaintiff is a “person” and “consumer” as defined by 815 ILCS 505/1(c) and (e) of the

ICFA.

   51. Defendant’s collection calls to Plaintiff are “trade” and “commerce” as defined by 815

ILCS 505/1(f) of the ICFA.

   52. The ICFA states:

               “Unfair methods of competition and unfair or deceptive acts or
               practices, including but not limited to the use or employment of any
               deception, fraud, false pretense, false promise, misrepresentation or
               the concealment, suppression or omission of any material fact, with
               intent that others rely upon the concealment, suppression or
               omission of such material fact . . . in the conduct of any trade or
               commerce are hereby declared unlawful whether any person has in
               fact been misled, deceived or damaged thereby.” 815 ILCS 505/2.

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   53. Defendant violated 815 ILCS 505/2 by engaging in an unfair and deceptive act or practice

in contacting Plaintiff. It was unfair for Defendant to relentlessly contact Plaintiff through means

of an ATDS when she demanded that it stop calling her. Defendant ignored Plaintiff’s repeated

demands and continued to systematically place calls to her cellular phone without her consent.

Following its characteristic behavior in placing voluminous calls to consumers, Defendant

engaged in an unfair and deceptive act, willfully done with the hope that Plaintiff would be

compelled to make payment.

   54. The ICFA was designed to protect consumers, such as Plaintiff, from the exact behavior

committed by Defendant.

   55. The ICFA further states:

               “Any person who suffers actual damage as a result of a violation of
               this Act committed by any other person may bring an action against
               such person. The court, in its discretion may award actual economic
               damages or any other relief which the court deems proper.” 815
               ILCS 505/10a.

   56. As pled in paragraphs 23 through 28, Plaintiff has suffered actual damages as a result of

Defendant’s unlawful practices, including costs associated with changing cellular phone numbers,

as well as incurring costs to purchase and maintain a blocking application subscription. As such,

Plaintiff is entitled to relief pursuant to 815 ILCS 505/10a.

   57. An award of punitive damages is appropriate because Defendant’s conduct was

outrageous, willful and wanton, and showed a reckless disregard for the rights of Plaintiff.

Defendant acted in defiance of Plaintiff’s prompts. Defendant was notified by Plaintiff that she

did not wish to receive any more phone calls as she was dealing with financial hardship. Yet,

Plaintiff was still bombarded with collection phone calls from Defendant, even after obtaining a

new cellular phone number. In an unfair and deceptive manner, Defendant called Plaintiff at least

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30 times in an attempt to harass her into submission. After the initial conversation in which

Plaintiff notified it that that she did not wish to be contacted further, Defendant had more than

enough information to know that it should not continue calling her. Defendant, in defiance of the

law, falsely and deceptively represented that it had the legal ability to contact Plaintiff seeking

collection of debt when it did not. Upon information and belief, Defendant regularly engages in

the above described behavior against consumers in Illinois and for public policy reasons should be

penalized.

   WHEREFORE, Plaintiff, TAMIKA PATRICE JOHNSON, respectfully requests that this

Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff actual and punitive damages, in an amount to be determined at trial, for
      the underlying violations;

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: August 25, 2017                               Respectfully submitted,

s/ Nathan C. Volheim                                 s/Taxiarchis Hatzidimitriadis
Nathan C. Volheim, Esq. #6302103                     Taxiarchis Hatzidimitriadis, Esq. #6319225
Counsel for Plaintiff                                Counsel for Plaintiff
Admitted in the Northern District of Illinois        Admitted in the Northern District of Illinois
Sulaiman Law Group, Ltd.                             Sulaiman Law Group, Ltd.
2500 South Highland Ave., Suite 200                  2500 South Highland Ave., Suite 200
Lombard, Illinois 60148                              Lombard, Illinois 60148
(630) 568-3056 (phone)                               (630) 581-5858 (phone)
(630) 575-8188 (fax)                                 (630) 575-8188 (fax)
nvolheim@sulaimanlaw.com                             thatz@sulaimanlaw.com




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